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        NOTICE OF FILING PATIENT CARE OMBUDSMAN’S REPORT

     In accordance with Section 333(b)(2) of Title 11 of the United States Code
     (the “Bankruptcy Code”), Mary L. Peebles (the “Ombudsman”), the Patient
      Care Ombudsman appointed in the above-captioned Chapter 11 cases
      commenced by Senior Care VII, L.L.C., dba Inspired Living of Lewisville,
      Texas (“Debtor”) submits this report (the “Report”) on the quality of
      patient care.


                                Introduction

The Ombudsman was appointed by the United States Trustee on February 18,
2022, pursuant to an Order of the Court in accordance with Section 333(a)(I) of
the Bankruptcy Code as set forth in Section 333(a)(I) and in the notice of
appointment, the Ombudsman was appointed to monitor the quality of patient
care provided to patients of the Debtor. This report is for the period of April 14,
2022, through June 23, 2022.

The Debtor’ Management team comprised of Corporate Management complied
with requests for information during a change in facility management. Mike C
Markham, the Florida Supreme Court Certified Circuit Mediator made his office
available facilitating requested access to documentation for the Ombudsman.



                         PREFACE SUMMARY

It is the opinion of the Ombudsman after a review based on
documentation and professional interviews that the patient care is at
an acceptable level.

The following section details the information utilized to support this conclusion.


A site visit was conducted on June 15th . The on site visit was
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very brief as a facility management change was in progress. The new executive

Director will begin on July 5. One hundred thirty-three residents called Inspired

Living home as of June 23. Thirty-one of these residents are in the memory care

section. As of June 23, five residents are isolated who tested positive with

Covid. There are currently the following staff openings:

two full-time care partners, two part-time care partners, one part-

time concierge, one health and wellness manager, one housekeeper, one part-

time dishwasher, two full-time servers, one sales Director, one full time

activities Director, and one driver.



 The focus of this report is based on professional interviews and documentation

From facility management. Calls were placed to physicians, nurse practitioners,

And the state ombudsman. Inquiries were made to assess the patient care

For acceptable care of residents. Areas addressed were medication

Administration, food service and infection control. A state complaint concerning

Medications was unsubstantiated on April 13, 2022. Thirteen of thirty-one

Service plans from the memory care unit were reviewed.


The dietary Department was in a state of adjustment as a change had been
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made with Services outsourced. Concerns were addressed and plans

implemented to Include the employment of five new dining staff. A Weekly

meeting called the culinary corner is conducted every Monday where menu

items are discussed and evaluated per resident request.

Changes were reported at the Town Hall meeting on June 22. Residents, families

and the state ombudsman were in attendance.


Medication administration was a focus of the management company to ensure

Timeliness and adherence to facility policies and procedures. Infection control

was emphasized with adherence to CDC guidelines evaluated to ensure that

Residents with COVID were isolated and treated as necessary. A person who

Is Covid positive must quarantine for five days. After the five days they must be

fever free for 24 hours prior to coming out into the community. They must wear

a mask for the following five days after the five-day quarantine. If the

community has more than 10% of residents that have tested positive the

facility will retain doctors’ orders to test the entire building. Full PPE stations

outside of each coded positive room is implemented staff and services were

conducted with the vice president clinic called services reviewing infection

control procedures. Foggers are also used once a week to mitigate the spread.
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These procedures were furnished to the ombudsman by the management

personnel currently in the building.

This concludes this interim report. I will monitor the facility by phone until my

return for a site visit mid July.

                          SUMMARY CONCLUSION

It is the opinion of the Ombudsman after a review based on
documentation and professional interviews that the patient care is at
an acceptable level.


/s/ Mary L. Peebles                    Patient Care Ombudsman
June 24, 2022
